                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, EDGAR CAGE, DOROTHY
NAIRNE, EDWIN RENE SOULE, ALICE
WASHINGTON, CLEE EARNEST LOWE,
DAVANTE LEWIS, MARTHA DAVIS,
AMBROSE SIMS, NATIONAL ASSOCIATION
FOR THE ADVANCEMENT OF COLORED
PEOPLE (“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION FOR
EQUITY AND JUSTICE, Plaintiffs,
V.
KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana, Defendant.
                                                            Civil Action No. 3:22-cv-00211
                                                            Chief Judge Shelly D. Dick
                                                            Magistrate Judge Richard L.
                                                            Bourgeois, Jr.

                               PETITION OF INTERVENTION
       Now before the Court comes The Louisiana Legislative Black Caucus (LLBC) an

association of African American members of the Louisiana legislature who with respect represent

the following.

                                                 1.

       LLBC adopts the Statement of Jurisdiction and factual allegations set forth in the original

petition and adopts the claims asserted by Plaintiffs.

                                                 2.

       Members of LLBC opposed the plan which is the subject of this proceeding when it was

first proposed and were united in opposing the plan throughout the process of its adoption by the

Louisiana legislature.
                                                 3.

       Throughout that process members of LLBC contended that the proposed plan was illegal,

which is the same claim which is asserted by the Plaintiff in this proceeding and continued to

oppose the plan when it was presented to and ultimately vetoed by the governor and also continued

to be united in opposition to the plan during the veto override session when the plan was

purportedly adopted.

                                                 4.

       LLBC joins with the Plaintiffs in seeking declaratory and injunctive relief determining that

in fact the plan as presently purportedly adopted and as it is being enforced is in violation of the

Voter Rights Act.

       Wherefore after due proceedings that Court determine that the Congressional redistricting

plan as that plan is currently being enforced in Louisiana is in violation of the Voter Rights Act

and further that the Court grant such remedial and injunctive relief as is appropriate.

                                              Respectfully submitted,

                                              Stephen M. Irving
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                              CERTIFICATE OF SERVICE

       I do hereby certify that, on this 21st day of April 2022, the foregoing was electronically

filed with the Clerk of Court using the CM/ECF system, which gives notice of filing to all counsel

of record.

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